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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                             WESTERN DISTRICT OF OKLAHOMA

ANDREW COOKE, ON BEHALF OF                              )
THE ANDREW R. COOKE 1998 TRUST,                         )
Individually and on Behalf of All Others                )
Similarly Situated,                                     )     Master Docket
                                                        )     CIV-14-0087-C
                       Plaintiffs,                      )     (consolidated with CIV-14-0047-C,
v.                                                      )     CIV-14-0058-C, CIV-14-0114-C)
                                                        )
EQUAL ENERGY LTD., et al.,                              )
                                                        )
                       Defendants.                      )

                                     NOTICE OF SETTLEMENT
       NOTICE IS HEREBY GIVEN that the parties have agreed to resolve all claims in this

action. Execution of a Settlement Agreement and Release is pending, promptly after which the

parties will file a Motion for Preliminary Approval. Accordingly, the parties request that the

upcoming motion to dismiss hearing may be stricken from the Court calendar, without prejudice.

This notice is being filed with the consent of all parties.

       DATED this 29th day of July, 2014.

                                               /s/ James E. Howard
                                               MICHAEL SMITH, OBA # 8385
                                               HALL, ESTILL, HARDWICK, GABLE, GOLDEN
                                               & NELSON, P.C.
                                               100 N Broadway, Suite 2900
                                               Oklahoma City, OK 73102
                                               Telephone: (405) 553-2821
                                               Liaison Counsel for Defendants

                                               James E. Howard
                                               Jessica M. Andrade
                                               Admitted Pro Hac Vice
                                               DORSEY & WHITNEY LLP
                                               701 Fifth Avenue, Suite 6100
                                               Seattle, WA 98104-7043
                                               Telephone: (206) 903-8800
                                               Counsel for Equal Energy and the individual
                                               Equal Energy directors
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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 29, 2014, I electronically transmitted the foregoing

pleading to the Clerk of Court using the ECF System for filing, and a copy thereof was

electronically served upon all parties receiving notice pursuant to the CM/ECF system.



                                               /s/ James E. Howard
                                               James E. Howard




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